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               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL            §
LEAGUE PLAYERS’ CONCUSSION          §
LITIGATION                          §
___________________________________ §              No. 12-md-2323 (AB)
                                    §
                                    §                    MDL No. 2323
THIS DOCUMENT RELATES TO:           §
ALL ACTIONS                         §

                                     ORDER

      On this date came on for consideration the motion of the Alexander Objectors
to compel the attorneys seeking attorneys’ fees and expense reimbursement to
comply with Case Management Order No. 5 regarding the submission of counsels’
time and expense reports. Having considered the motion, the Court is of the opinion
that the motion should be GRANTED. It is therefore
      ORDERED that Co-Lead Class Counsel and all other counsel who intend to
seek fees and expense reimbursement shall file, within __ days of this Order, the
monthly or quarterly Time and Expense Reports mandated by CMO 5, together with
the underlying Summary Time and Expense Report Forms. It is further
      ORDERED that Diane Brown, Dianne M. Nast, and Alan B. Winikur (or the
firm Zelnick, Mann and Winikur PC) shall file, within __ days of this Order, any
periodic reviews or audits of the time and expense reports submitted pursuant to
CMO 5.

Dated this __ day of ___________, 2017.     _________________________
                                            Hon. Anita B. Brody
                                            United States District Judge




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Date: September 20, 2017                   Respectfully Submitted,

                                 /s/ Lance H. Lubel
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                        CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served on all counsel of
record via the Court’s ECF system on September 20, 2017.

                                           /s/ Lance H. Lubel
                                           Lance H. Lubel




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